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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION


MARC VEASEY, et al.,

                      Plaintiffs,

             v.                                Civil Action No. 2:13-cv-193 (NGR)

RICK PERRY, et al.,

                      Defendants.


UNITED STATES OF AMERICA,

                      Plaintiff,

TEXAS LEAGUE OF YOUNG VOTERS
EDUCATION FUND, et al.,
                                               Civil Action No. 2:13-cv-263 (NGR)
                      Plaintiff-Intervenors,

TEXAS ASSOCIATION OF HISPANIC
COUNTY JUDGES AND COUNTY
COMMISSIONERS, et al.,

                      Plaintiff-Intervenors,

             v.

STATE OF TEXAS, et al.,

                      Defendants.
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TEXAS STATE CONFERENCE OF NAACP
BRANCHES, et al.,

                       Plaintiffs,
                                                        Civil Action No. 2:13-cv-291 (NGR)
               v.

NANDITA BERRY, et al.,

                       Defendants.


BELINDA ORTIZ, et al.,

                       Plaintiffs,

               v.                                       Civil Action No. 2:13-cv-348 (NGR)

STATE OF TEXAS, et al.,

                       Defendants


                                         [Proposed] Order

       Having reviewed the United States’ Motion to Compel the Production of Documents

(ECF No. ___) and Defendants’ Response thereto (ECF No. ___), the United States’ Motion to

Compel is GRANTED. Within seven days of the entry of this order, unless subject to an

additional valid privilege, Defendants shall produce:

   •   All documents and electronically stored information (ESI) previously withheld on the

       basis of a state legislative privilege;

   •   All documents and ESI previously withheld on the basis of Section 323.017 of the Texas

       Government Code;

   •   All documents and ESI withheld on the basis of the attorney-client privilege based on an

       attorney-client relationship with an attorney not employed by the Office of the Attorney
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        General and that have been transmitted between the office of the Lieutenant Governor

        and the office of an individual legislator, the office of the Lieutenant Governor and the

        Texas Legislative Council, the offices of multiple individual legislators, or the office of

        an individual legislator and the Texas Legislative Council (TLC); 1 and

    •   All documents and ESI withheld on the basis of the attorney-client privilege that consist

        of political, strategic, or policy advice or that do not reflect client confidences. 2

Within fourteen days of the entry of this order, unless subject to an additional valid privilege,

Defendants shall produce:




1
 This includes but is not limited to the following documents: TX_00006129-30, TX_00006134-35,
TX_00006160, TX_00006535-74, TX_00007076-78, TX_0007912-25, TX_00009917-68,
TX_00011956-58, TX_00012729-34, TX_00012944-53, TX_00014012, TX_00014920-21,
TX_00015831-36, TX_00017894, TX_00018646-50, TX_00018855-57, TX_00019173, TX_00019291-
94, TX_00019377-92, TX_00019770, TX_00022254-61, TX_00026295-302, TX_00027374-85,
TX_00027868-84, TX_00034438-41, TX_00034455-60, TX_00034469, TX_00034473, TX_00038296-
300, TX_00038302-04, TX_00038306, TX_00038308, TX_00039551, TX_00041842-45, TX_00042138-
44, TX_00042146-47, TX_00042289-308, TX_00042440, TX_00048694-98, TX_00057320,
TX_00057627-44, TX_76551, TX_00078083-85, TX_00078174, TX_00078178-80, TX_00078188,
TX_00078190-91, TX_00078197, TX_00081609-14, TX_00085663-64, TX_00086877, TX_00086962,
TX_00086963-7006, TX_00087306, TX_00087309-11, TX_00087391-94, TX_00087397-98,
TX_00087792-805, TX_00087830-31, TX_00087837-41, TX_00087898-943, TX_00087980-8019,
TX_00088053-61, TX_00090517, TX_00090546, TX_00090605-90, TX_00090692-730, TX_00090733-
34, TX_0009771-72, TX_00090774-79, TX_00091207-22, TX_00091224-26, TX_00091384-87,
TX_00091729, TX_00091799-804, TX_00092293-304, TX_00092309-11, TX_00092554,
TX_00101887-90, TX_00204730, TX_00206556-69, TX_00206570-79, TX_00251748-49.
TX_00251796-917, TX_00254767-68, TX_00254800-17, TX_00254893, TX_00254944-45,
TX_00260337-69.
2
 Defendants shall determine whether the following documents consist of political, strategic, or policy
advice or do not reflect client confidences: TX_00006129-30, TX_000006134-35, TX_00006160,
TX_0000653574, TX_00007076-78, TX_00008681-89, TX_00009917-68, TX_00011948-51,
TX_00011954-55, TX_00011961-63, TX_00011981, TX_00012005-56, TX_00012198-200,
TX_00012248-58, TX_00014012, TX_00017894, TX_00018646-47, TX_00018648-50, TX_00018855-
57, TX_00019173, TX_00019377-92, TX_00019770, TX_00021737-85, TX_00022254-61,
TX_00026295-302, TX_00027868-84, TX_00034473, TX_00038296-300, TX_00038302-04,
TX_00038306, TX_00038308, TX_00042440, TX_00057627-44, TX_00076551, TX_00081609-11,
TX_00086877, TX_00086962-7006, TX_00090478-79, TX_00090509-14, TX_00090731-32,
TX_00090741-58, TX_00092293-92302, TX_00092394-95, TX_00092554, TX_00204721-23,
TX_00204769-71, TX_00206570-79.
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   •    All documents and ESI in the possession of the Texas Legislative Council responsive to

        the United States’ First Set of Requests for Production, including but not limited to email

        sent or received by Texas legislators or their staff contained on servers in the possession

        of the TLC and ESI stored on network drives maintained by the TLC and associated with

        the offices of Texas legislators, notwithstanding assertions of a state legislative privilege.

Also within fourteen days of the date of this order, Defendants must produce a revised privilege

log concerning all documents and ESI that Defendants continue to withhold, based in whole or in

part, on the attorney-client privilege where the attorney at issue is counsel for an individual

legislator or the Lieutenant Governor. This privilege log must be sufficient to establish that the

communication does not consist of political, strategic, or policy advice. To the extent that this

privilege log is insufficient to establish the privilege, this Court shall entertain a renewed motion

to compel on an expedited basis.

        Within thirty days of production of all documents previously withheld, based in whole or

in part, on a state legislative privilege, the United States may renew the instant motion and

request that this Court compel deposition testimony from legislators claiming a state legislative

privilege. The Court will assess the renewed motion based on the briefs already submitted and a

new submission of documents that the United States claims warrant complete deposition

discovery of particular legislators regarding the subjects of this litigation.

SO ORDERED.

Date:

                                                       ________________________________
                                                       NELVA GONZALES RAMOS
                                                       UNITED STATES DISTRICT JUDGE
